              Case 2:21-cr-00148-TLN Document 53 Filed 11/24/21 Page 1 of 5


 1   DAVID D. FISCHER, SBN 224900
     LAW OFFICES OF DAVID D. FISCHER, APC
 2
     5701 Lonetree Blvd., Suite 312
 3   Rocklin, CA 95765
     Telephone: (916) 447-8600
 4
     Fax:        (916) 930-6482
 5   E-Mail:     david.fischer@fischerlawoffice.com
 6   Attorney for Defendant
 7   ANGEL JESUS SANCHEZ-MANRIQUEZ
 8
 9                        UNITED STATES OF DISTRICT COURT
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                  Case No.: 2:21-CR-00148
13                 Plaintiff,
14                 v.               DEFENDANT
                                    ANGEL SANCHEZ-MANRIQUEZ’S
15   ANGEL JESUS SANCHEZ-MANRIQUEZ, SENTENCING MEMORANDUM
16
                  Defendant.
17
18                                     I. INTRODUCTION
19         The plea agreement allows Mr. Sanchez-Manriques, the defendant, to ask for a
20   sentence of 120 months of imprisonment (the mandatory minimum sentence that can be
21   imposed), and it obligates the government to recommend no more than the low end of the
22   applicable guideline range. The probation officer assigned to the case has found that the
23   guideline range is 135 to 168 months and has recommended a sentence of 135 months.
24         Mr. Sanchez-Manriquez is asking the Court for a downward variance to 120
25   months of imprisonment based his age, his history of childhood abuse and neglect, his
26   acceptance of responsibility, and his expression of remorse for his conduct. He looks
27   forward to remaking his life by enrolling in vocational and drug rehabilitation programs
28   within the Bureau of Prisons. We respectfully submit that a sentence of 120 months is



                                            -1-
              Case 2:21-cr-00148-TLN Document 53 Filed 11/24/21 Page 2 of 5


 1   sufficient, but not greater than necessary, to comply with the statutory purposes of
 2   sentencing pursuant to 18 U.S.C. §3553(a) given the nature and circumstances of the
 3   offense and the history and characteristics of the defendant.
 4
 5                                       I. BACKGROUND
 6          The details of his personal and family life are listed beginning on page 12 of the
 7   PSR. His parents were teenagers when Mr. Sanchez-Manriquez was born. He grew up
 8   without a father. His only memories of his father are of his father terrorizing his mother
 9   when he was very young.        Because his mother was so young when Mr. Sanchez-
10   Manriquez was born, she had no interest in raising him. Mr. Sanchez-Manriquez was
11   exposed to gangs, violence, drugs and alcohol at a very early age. He tried marijuana at
12   age 6, and became addicted to drugs and alcohol by age 14. And although having a
13   difficult childhood and being addicted to drugs is not a justification for committing this
14   offense, it provides a background for how this crime developed.
15           II. REASONS WHY THE DEFENSE RESPECTFULLY REQUESTS A
16                    VARIANCE FROM 135 MONTHS TO 120 MONTHS

17          In Pepper v. U.S. 131 S.Ct. 1229, 1240 (2011), the Court emphasized the need for
18   individualized sentencing, reiterating “the principle that ‘the punishment should fit the
19   offender and not merely the crime.’” (quoting Williams v. New York, 337 U.S. 241, 247
20   (1949)); see Miller v. Alabama, 567 U.S. 460, 470 (2012) (‘punishment for crime should
21   be graduated and proportioned to both the offender and the offense”).
22          “Sentencing is an art, not to be performed as a mechanical process but as a
23   sensitive response to a particular person who has a particular personal history and has
24   committed a particular crime.” U.S. v. Harris, 679 F.3d 1179, 1183 (9th Cir. 2012).
25   Pepper, Booker, Gall, and Kimbrough “empowered district courts, not appellate courts . .
26   . . [and have] breathe[d] life into the authority of district court judges to engage in
27   individualized sentencing.” U.S. v. Whitehead, 532 F.3d 991 (9th Cir. 2008); U.S. v.
28   Vonner, 516 F.3d 382, 392 (6th Cir. 2008) (en banc) (“The sentencing court must not be



                                             -2-
                 Case 2:21-cr-00148-TLN Document 53 Filed 11/24/21 Page 3 of 5


 1   “so appalled by the offense that it los[es] sight of the offender” and “the record [must]
 2   reflect the required consideration of “the history and characteristics of the defendant,” 18
 3   U.S.C. § 3553(a) (1).
 4          A.       Lack of Guidance as a Youth
 5          U.S. v. Floyd, 945 F.2d 1096 (9th Cir. 1991) (in drug case, court affirms departure
 6   from guideline range of 30 years to life to 17 years because of defendant’s abandonment
 7   by his parents and lack of guidance as a youth –rendering defendant less culpable. Also
 8   observing that “a criminal sentence must reflect an individualized assessment of a
 9   particular defendant’s    culpability rather than a mechanistic application of a given
10   sentence to a given category of crime”). Note: The Guidelines eliminated this ground in
11   §5K2.0 (d)(1), but Booker has given it new life.); Landrigan v. Schriro 441 F.3d 638,
12   648 (9th Cir. 2006) (“Where a defendant's crime is attributable to a disadvantaged
13   background or emotional or mental problems the defendant is less culpable than one
14   without the excuse.”)
15          B. Defendant was Addicted to Drugs
16          U.S.     v. Garcia, 497 F.3d 964 (9th Cir. 2007) (where D convicted of drug
17   conspiracy and sentenced to over 100 years, sentence vacated in part because district
18   judge erred in holding it had no power to consider to defendant’s drug addiction and
19   resulting mental impairment as a mitigating factor under 18 U.S.C. § 3553(a). Fact that
20   guidelines preclude downward departure because of voluntary use of drugs under USSG
21   § 5K2.13 and 5H1.4 does not preclude the Court from using same as mitigating factor
22   under § 3553(a)).
23          As described in the PSR, the defendant engaged in this conduct largely to support
24   his drug addiction. He has spent a lot of time in custody and has realized that drugs are
25   his downfall.     The defendant is looking forward to receiving drug treatment while
26   incarcerated.
27          //
28          //



                                             -3-
              Case 2:21-cr-00148-TLN Document 53 Filed 11/24/21 Page 4 of 5


 1         C. Defendant’s Disadvantaged Background
 2         Landrigan v. Schriro, 441 F.3d 638, 648 (9th Cir. 2006) (“Where a defendant's
 3   crime is attributable to a disadvantaged background or emotional or mental problems the
 4   defendant is less culpable than one without the excuse.”); United States v. Brown, 985
 5   F.2d 478, 481 (9th Cir. 1993) (proper to grant downward departure in light of
 6   psychological report detailing childhood of severe abuse and neglect); United States v.
 7   Floyd, 945 F.2d 1096, 1100 (9th Cir. 1991) (departure from guideline of 360 months–life
 8   to 17 years reasonable due to defendant’s lack of guidance as a youth) (overruled on
 9   other grounds).
10         D. The Defendant Was Exposed to Domestic Violence as a Child
11         The court can consider the defendant's troubled upbringing and his exposure to
12   domestic violence as a child. U.S. v. Lopez, 938 F.2d 1293, 1298 (D.C. Cir. 1991).
13   “Children who are abused in their youth generally face extraordinary problems
14   developing into responsible, productive citizens.” Santosky v. Kramer, 455 U.S. 745, 789
15   (1982) see U.S. v. Deigert, 916 F.2d 916, 918-19 (4th Cir. 1990); see Penry v. Lynaugh,
16   492 U.S. 302, 319 (1989) (Rehnquist, J., dissenting )(evidence about the defendant's
17   background is relevant because of the belief "long held by this society, that the
18   defendants who commit criminal acts that are attributable to a disadvantaged background
19   or to emotional or mental problems may be less culpable than defendants who have no
20   such excuse.")
21
22                                       CONCLUSION
23         The defendant is 21 years old. A 10-year sentence is a very serious punishment
24   for the crime he committed. We respectfully submit that a 10-year sentence followed by
25   a lengthy term of supervised release is a sentence that is sufficient but not greater than
26   necessary to achieve the goals of sentencing, it would be sufficient to protect the public
27   from future crimes committed by the defendant, it would provide a just punishment for
28



                                            -4-
              Case 2:21-cr-00148-TLN Document 53 Filed 11/24/21 Page 5 of 5


 1   his offense, and it would be sufficiently long for the defendant to be able to receive
 2   necessary vocational training and drug treatment necessary to lead a law-abiding life.
 3
 4   Dated: November 24, 2021
 5
                                              /S/ David D. Fischer
 6                                            DAVID D. FISCHER
 7                                            Attorney for Defendant
                                              ANGEL JESUS SANCHEZ-MANRIQUEZ
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                            -5-
